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                               14
                                                                    UNITED STATES DISTRICT COURT
                               15
                                                                 NORTHERN DISTRICT OF CALIFORNIA
                               16
                                                                      SAN FRANCISCO COURTHOUSE
                               17
                                     THOMAS IGLESIAS, DAVID SALAZAR,                     Case No. 3:21-cv-01147-TSH
                               18    OLIVIA THURMAN, and BETHANY                         Action Filed: February 16, 2021
                                     TORBERT individually and on behalf of all           FAC Filed: June 1, 2021
                               19    others similarly situated,                          Judge: Hon. Thomas Hixson

                               20                             Plaintiff,                 JOINT STATUS REPORT

                               21                v.

                               22    FOR LIFE PRODUCTS, LLC,

                               23                             Defendant.

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                                    N.D. Unknown
                                    Error! CA Casedocument
                                                   No. 3:21-cv-01147-TSH
                                                           property name.          -1-
                                                                            JOINT STATUS REPORT
                                1           Pursuant to this Court’s Order Vacating CMC and Setting Motion Deadline, filed February
                                2   3, 2022 (ECF 30), Plaintiffs Thomas Iglesias, David Salazar, Olivia Thurman, and Bethany Torbert
                                3   (“Plaintiffs”) and Defendant For Life Products, LLC (“Defendant”) (collectively, the “Parties”)
                                4   submit this Joint Status Report.
                                5           Uncertainty re: Required Status Report. At the time the Court entered the February 3,
                                6   2022 order, the deadline to file Plaintiffs’ motion for class certification was May 11, 2022. Order,
                                7   2/3/2022 (ECF 30); Scheduling Order, 5/17/2021 (ECF 20). Subsequently, on March 2, 2022, the
                                8   Court entered the Stipulated First Amended Case Management Scheduling Order, which continued
                                9   the May 11, 2022 deadline to August 9, 2022 (approximately 3 months). ECF 32. As such, the
                               10   Parties are uncertain of whether the Court requires a joint status report. However, the Parties file
                               11   this report out of an abundance of caution.
                               12           Status Discovery/Class Certification. Currently, the Parties are engaged in discovery and
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                               13   anticipate that, with good faith efforts and reasonable cooperation, they can complete discovery
     Malibu, CA 90265




                               14   prior to the August 9, 2022 class certification deadline. In the event that any Party determines it is
                               15   necessary to adjust the current scheduling order, the Parties will meet and confer and address that
                               16   need with the Court when it is appropriate.
                               17   Dated: May 11, 2022                                  CLARKSON LAW FIRM, P.C.
                               18                                                        By: /s/ Katherine A. Bruce
                                                                                         RYAN J. CLARKSON
                               19
                                                                                         KATHERINE A. BRUCE
                               20                                                        KELSEY J. ELLING

                               21                                                        MOON LAW APC
                                                                                         CHRISTOPHER D. MOON
                               22                                                        KEVIN O. MOON
                               23                                                        Attorneys for Plaintiffs
                               24
                                    DATED: May 11, 2022                                  GREENBERG TRAURIG, LLP
                               25                                                        By: /s/ Rick L. Shackelford_____
                                                                                         RICK L. SHACKELFORD
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                               27                                                        Attorneys for Defendant

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                                    N.D. CA Case No. 3:21-cv-01147-TSH               2
                                                              JOINT CASE MANAGEMENT STATEMENT
                                1                                        ATTESTATION OF FILER
                                2
                                            Pursuant to Civil Local Rule 5-1(i)(3), the undersigned filer hereby attests that all signatories
                                3
                                    listed, and on whose behalf the filing is submitted, concur in the filing’s content and have authorized
                                4
                                    the filing.
                                5
                                    Dated: May 11, 2022                                   By: /s/ Katherine A. Bruce
                                6                                                         Katherine A. Bruce
                                7
                                                                                          Attorney for Plaintiff
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                                    N.D. CA Case No. 3:21-cv-01147-TSH                3
                                                               JOINT CASE MANAGEMENT STATEMENT
